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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,
                                                                        MEMORANDUM & ORDER

         v.                                                             03-CR-1382 (NGG)

 ANTHONY URSO, et al.,

                            Defendants.
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 GARAUFIS, United States District Judge.

         This Memorandum and Order responds to Basile’s motion for reconsideration of a

 Memorandum and Order, dated March 16, 2006 (“March 16 M&O”) which, inter alia, denied

 Basile’s motion to dismiss the loansharking Racketeering Act 49 (“RA 49”). Knowledge of the

 facts underlying this motion is assumed.

         In Basile’s prior motion, Basile alleged that while attempting to re-indict Basile for the

 loansharking substantive counts, the prosecution inadvertently presented exculpatory evidence to

 the second grand jury and then discontinued the second grand jury, and urged that the

 prosecution violated Defendant’s constitutional rights when it failed to have the second grand

 jury reconsider RA 49 in light of this new evidence. I granted in camera review of the grand jury

 minutes pertaining to RA 49, and in the March 16 M&O I held that Defendant’s rights were not

 violated because the prosecution did not mischaracterize the evidence or otherwise commit

 prosecutorial misconduct before the first grand jury, and that, lacking evidence of prosecutorial

 misconduct before the indicting grand jury, this court lacked the power to dismiss RA 49.

 (March 16 M&O, at 16-17 (citing United States v. Williams, 504 U.S. 36, 46-47 (1992)).)



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        Basile now moves for reconsideration, arguing that the prosecution’s failure to have the

 second grand jury consider the loansharking predicate act in the first indictment in light of the

 direct witness’s testimony constitutes prosecutorial misconduct and is violative of Defendant’s

 Fifth Amendment right to indictment by a grand jury. (Basile’s Mem. Supp. Mot.

 Reconsideration, at 7.)

        While there is no specific rule governing criminal motions to reconsider, see, e.g., United

 States v. James, No. 02-CR-778, 2005 U.S. Dist. LEXIS 40695, at *3-*4 (E.D.N.Y. Dec. 6,

 2005), “a court conducting a criminal case is permitted to draw from and mirror a practice that is

 sanctioned by the Federal Rules of Civil Procedure.” United States v. Gigante, 971 F. Supp. 755,

 758 (E.D.N.Y. 1997). Fed. R. Civ. P. 59(e) and Local Rule 6.3 permit a civil motion for

 reconsideration, and I shall permit one here; however, the Second Circuit instructs that

 “reconsideration will generally be denied unless the moving party can point to controlling

 decisions or data that the court overlooked - matters, in other words, that might reasonably be

 expected to alter the conclusion reached by the court.” Shrader v. CSX Transportation, Inc., 70

 F.3d 255, 257 (2d Cir. 1995).




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        As I found in my March 16, 2006 M&O, the Defendant’s argument is squarely foreclosed

 by the Williams Court, which held that district courts lack the power to dismiss an allegation in

 an indictment based on post-indictment exculpatory evidence lacking evidence of prosecutorial

 misconduct. (March 16 M&O, at 16-17 (citing United States v. Williams, 504 U.S. 36, 46-47

 (1992)).) As Basile does not make any new factual allegations or refer this court to any

 controlling decisions that I have not already considered in the March 16 M&O, Basile’s motion

 for reconsideration is DENIED.

 SO ORDERED.

 Dated: April __, 2006                                  _____/s/___________________
        Brooklyn, N.Y.                                  Nicholas G. Garaufis
                                                        United States District Judge




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